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        8:16-cv-00280-JVSDoc
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  6
      Attorneys for Appellant
  7

  8
                                           UNITED STATES DISTRICT COURT
  9                                       CENTRAL DISTRICT OF CALIFORNIA
 10
    In re                                       )              Dist. Court Case No.
 11 THE LITTLE SAIGON NEWS,                     )              SA-CV-16-00280-JVS
 12 INCORPORATED, Debtor.                       )
    ____________________________________        )              Bk. Case No.
 13 In re                                       )              8:15-bk-11875-MW
 14 BRIGITTE LAURE HUYNH, Debtor.               )
                                                )
 15   [X] Affects ONLY Little Saigon            )              ORDER
 16   ____________________________________ )                   ENLARGING TIME
      JOSEPH LE,                                )              TO FILE APPEAL
 17                                  Appellant. )              DOCUMENTS
 18   vs.                                       )
      NGUOI VIET DAILY NEWS AND                 )
 19   DAT HUY PHAN,                             )
 20                                  Appellees. )
      _____________________________________)                   [NO HEARING REQUIRED]
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  1              The Court has reviewed the parties’ Stipulation for Enlargement of Time to
  2
      File Appeal Documents (“Extension Stipulation”) and accepts its representations to
  3

  4
      be true. For good cause appearing, it is

  5              ORDERED:
  6
                 1.          The Extension Stipulation is approved.
  7

  8              2.          Appellant’s time to file the following documents with the Court is

  9   extended through and including April 25, 2016:
 10
                             (a)         A Designation of Record;
 11

 12                          (b)         A Statement of Issues on Appeal; and

 13                          (c)         A Notice Regarding the Ordering of Transcripts.
 14

 15

 16   Dated: March 03, 2016                               ____________________________________

 17                                                       James V. Selna, U.S. District Judge
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